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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGA use - ET

United States of America,

Plaintiff, Case No. 16-20143
Honorable Avern Cohn
Vv.
Violations:
D-2 Deaunta Belcher, 18 U.S.C. § 1958
a.k.a. “Byrd,” 21 U.S.C. § 846
18 U.S.C. § 924())
D-3 Andre Watson, 18 U.S.C. § 1512

a.k.a. “Lil Stunna,”

Defendants.
/

SUPERSEDING INDICTMENT

THE GRAND JURY CHARGES:

COUNT ONE
(18 U.S.C. § 1958 — Use of Interstate Commerce
Facilities in the Commission of Murder-for-Hire)

D-2 Deaunta Belcher
D-3 Andre Watson

On or about September 11, 2015, in the Eastern District of
Michigan, Southern Division, the defendants, DEAUNTA BELCHER

and ANDRE WATSON, used and caused another to use a facility of
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interstate or foreign commerce, to wit: a telephone, with intent that the
murder of Devin Wallace be committed in violation of the laws of the
State of Michigan or the United States, and as consideration for a
promise and agreement to pay, things of pecuniary value, to wit: United
States currency, in violation of Title 18, United States Code, Sections
1958 and 2.

COUNT TWO
(21 U.S.C. § 846 — Conspiracy to Possess with Intent to Distribute)

D-2 Deaunta Belcher
D-3 Andre Watson

From in or about August 2015 to September 2015, the exact dates
being unknown to the Grand Jury, in the Eastern District of Michigan,
the defendants, DEAUNTA BELCHER and ANDRE WATSON,
knowingly and intentionally combined, conspired, confederated and
agreed with other persons, known and unknown to the Grand Jury, to
distribute controlled substances, to wit: a mixture and substance
containing cocaine, a schedule II controlled substance, and oxycodone, a
schedule IT controlled substance, in violation of Title 21, United States

Code, Sections 846 and 841(a)(1).
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COUNT THREE
(18 U.S.C. §§ 924(c), G)— Use of a Firearm During
and in Relation to a Drug Trafficking Crime Causing Death)

D-2 Deaunta Belcher
D-3 Andre Watson

On or about September 11, 2015, in the Eastern District of
Michigan, the defendants, DEAUNTA BELCHER and AN DRE
WATSON, did knowingly carry, use, brandish, and discharge a firearm
and caused the death of a person, to wit: Devin Wallace, during and in

relation to a drug trafficking crime, as alleged in Count Two of this

Indictment, in violation of Title 18, United States Code, Sections

924(c)(1)(A) and 9249).
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COUNT FOUR
(18 U.S.C. § 1512(b) — Misleading
Communication to Hinder Investigation of a Federal Offense)

D-2 Deaunta Belcher

On or about September 24, 2015, in the Eastern District of
Michigan, Southern Division, the defendant, DEAUNTA BELCHER,
did knowingly engage in misleading conduct toward another person,
Detroit Police Detectives Kelly Lucy and John Mitchell, by claiming
that (1) he did not know “Steph,” or Stephen Brown, personally; (2) he
did not have Steph’s phone number; and (3) Steph was still in jail to his
knowledge when, in fact, he knew that Stephen Brown was not in jail
and had called Brown six times within a half hour of the murder of
Devin Wallace on September 11, 2015, with the intent to hinder, delay,
or prevent the communication to a law enforcement officer of the United
States of information relating to the commission or possible commission
of a federal offense, to wit: use of interstate commerce facilities in the
commission of murder-for-hire, in violation of 18 U.S.C. § 1958, all in

violation of 18 U.S.C. § 1512(b)(3).
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FORFEITURE ALLEGATIONS

Pursuant to Fed.R.Cr.P. 32.2(a), the government hereby provides
notice to the defendants of its intention to seek forfeiture of all
proceeds, direct or indirect, or property traceable thereto, all property
that facilitated the commission of the violations alleged, or property
traceable thereto, and all property involved in, or property traceable

thereto, of the violations set forth in this Indictment.

THIS IS A TRUE BILL.

Dated: March 7, 2018
s/ Grand Jury Foreperson
Grand Jury Foreperson

MATTHEW SCHNEIDER
United States Attorney

s/ Christopher Graveline
Christopher Graveline
Chief, Violent and Organized Crimes Unit

s/ Terrence Haugabook s/ Shane Cralle
Terrence Haugabook Shane Cralle
Assistant U.S. Attorney Assistant U.S. Attorney
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United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan 16-20143

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

Companion Case Information Companion Case Number:

This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:

Ll Yes No AUSA’s Initials: <L

Case Title: USAv. Stephen Brown, et. al.

County where offense occurred : Wayne

TILED U T
Check One: Felony L]Misdemeanor oon HAR Elbesty 3
Indictment Information --- no prior complaint.
Indictrnent/ Information --- based upon prior complaint [Case number: ]
¥_Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: 16-20143 Judge: Avi talk pov DT

[_]Corrects errors; no additional charges or defendants.
[_]!nvolves, for plea purposes, different charges or adds counts.
Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)
21U.5.C. § 846

18 U.S.C. § 924())
18U S.C. § 1512

Please take notice that the below listed Assistant Ly. d States Attorney is the attorney of record for
the above captioned case.

March 7, 2018

Date SHANE ule
Assistant United States Attorney

211 W. Fort Street, Suite 2001

Detroit, MI 48226-3277

Phone: 313-226-9551

Fax: 313-226-5464

E-Mail address: shane.cralle@usdoj.gov

Attorney Bar #:

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

aven though one of them may have already been terminated.
Ri/te
